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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

Richard Sousa,                           *
                                         *
                Plaintiff,               *
                                         *
                                         *      Civil Action No. 1:16-cv-10657-GAO
Sonus Networks, Inc., et al              *
                                         *
                Defendant,               *

                                         ORDER

                                       June 6, 2017

O’Toole, D.J.

       Pursuant to the Opinion and Order [62] entered on 06/06/2017 GRANTING [48]

Defendant’s Motion to Dismiss, this case is hereby CLOSED.

   IT IS SO ORDERED.

                                                             /s/ George A. O’Toole, Jr.

                                                             United States District Judge
